                         SCHEDULE OF HOA CHARGES PAST DUE


         Property            Owning Entity     HOA Address                         Amount Owed
 Rental Home                                   Breckenridge Assn, Inc
                                                                                   Claim No. 24-1
 102 Briargate Ln        Old Town Homes, LLC   100 Brownsridge Lane
                                                                                     $5,841.00
 Madison AL, 35758                             Madison, AL 35758
 Rental Home                                   Breckenridge Assn, Inc
                                                                                     Included in
 107 Briargate Ln        Old Town Homes, LLC   100 Brownsridge Lane
                                                                                   Claim No. 24-1
 Madison AL, 35758                             Madison, AL 35758
 Rental Home                                   Breckenridge Assn, Inc
                                                                                     Included in
 129 Briargate Ln        Old Town Homes, LLC   100 Brownsridge Lane
                                                                                   Claim No. 24-1
 Madison AL, 35758                             Madison, AL 35758
                                               Seabreeze Condominium Owners
 Rental Home
                                               27051 Towne Centre Drive, Suite
 3422 Los Mochis Way     Michael Dombrowski                                          $2,081.97
                                               200
 Oceanside, Ca 92056
                                               Foothill Ranch, CA 92610
                                               Liberty Community Association
 Rental Home
                                               c/o Lueder, Larkin, & Hunter, LLC   Claim No. 1-1
 1013 Constitution Way   Michael Dombrowski
                                               5900 Winward Parkway Suite 390       $3,158.54
 Cumming, Ga 30040
                                               Alpharetta, GA 30005
 Rental Home
                                               Somar Lofts COA
 95 Forsyth Street SW
                         Michael Dombrowski    95 Forsyth Street # 6A                 $675.00
 #3D
                                               Atlanta, GA 30303
 Atlanta, Ga 30303
 Rental Home                                   Legacy Mountain HOA
 3053 Legacy Vista Dr    MGD RR3, LLC          PO Box 10686                          $1,008.00
 Sevierville, TN 37876                         Knoxvile, TN 37939
 Rental Home                                   Legacy Mountain HOA
 3047 Legacy Vista Dr    MGD RR3, LLC          PO Box 10686                          $1,008.00
 Sevierville, TN 37876                         Knoxvile, TN 37939
 Rental Home                                   Legacy Mountain HOA
 2937 Legacy Vista Dr    MGD RR3, LLC          PO Box 10686                          $1,008.00
 Sevierville, TN 37876                         Knoxvile, TN 37939
 Rental Home                                   Legacy Mountain HOA
 3049 Legacy Vista Dr    MGD RR3, LLC          PO Box 10686                          $1,008.00
 Sevierville, TN 37876                         Knoxvile, TN 37939
 Rental Home                                   Legacy Mountain HOA
 3010 Legacy Vista Dr    MGD RR3, LLC          PO Box 10686                          $1,008.00
 Sevierville, TN 37876                         Knoxvile, TN 37939
 Rental Home                                   Legacy Mountain HOA
                         Blue Mountain
 3013 Legacy Vista Dr                          PO Box 10686                          $1,008.00
                         Properties, LLC
 Sevierville, TN 37876                         Knoxvile, TN 37939
 Rental Home                                   Legacy Mountain HOA
                         Blue Mountain
 3015 Legacy Vista Dr                          PO Box 10686                          $1,008.00
                         Properties, LLC
 Sevierville, TN 37876                         Knoxvile, TN 37939
 Rental Home                                   Legacy Mountain HOA
                         Blue Mountain
 2611 Mountain Glory                           PO Box 10686                          $1,008.00
                         Properties, LLC
 Sevierville, TN 37876                         Knoxvile, TN 37939




Case 16-81412-CRJ11        Doc 569-7 Filed 08/30/17 Entered 08/30/17 10:42:36                   Desc
                                  Exhibit G Page 1 of 2
 Rental Home                                      Legacy Mountain HOA
                         Blue Mountain
 2613 Mountain Glory                              PO Box 10686                 $1,008.00
                         Properties, LLC
 Sevierville, TN 37876                            Knoxvile, TN 37939
 Rental Home                                      Legacy Mountain HOA
                         Blue Mountain
 2617 Mountain Glory                              PO Box 10686                 $1,008.00
                         Properties, LLC
 Sevierville, TN 37876                            Knoxvile, TN 37939
 Rental Home                                      Legacy Mountain HOA
                         Blue Mountain
 2322 Top of The World                            PO Box 10686                 $1,008.00
                         Properties, LLC
 Sevierville, TN 37876                            Knoxvile, TN 37939
 Vacant Lot                                       Morgantown POA
 Morgantown Beach Lot    Michael Dombrowski       P. O. Box 1626               $1,026.00
 Gulf Shores, AL                                  Gulf Shores, AL 36547
 1 Vacant Lot                                     Northshore GA POA
                         East Coast Properties,
 Oxbow Ct #261                                    PO Box 5237                  $837.30
                         LLC
 Kingsland, GA 31548                              St May's, GA 31558
 Vacant Home                                      Breckenridge Assn, Inc
 148 Bridletrace Ln      Old Town Homes, LLC      100 Brownsridge Lane         $1,500.00
 Madison AL, 35758                                Madison, AL 35758
 14 Homes                                         Cobblestone Condo Assn
                                                                           Claim No. 9-1
 Seven Pine Circle       MCA Properties, LLC      P.O. Box 22116
                                                                            $15,803.00
 Huntsville, AL 35816                             Huntsville, AL 35814
 Vacant Home                                      Cobblestone Condo Assn
                                                                            Included in
 5044 Seven Pine Cr      MCA Properties, LLC      P.O. Box 22116
                                                                           Claim No. 9-1
 Huntsville, AL, 35816                            Huntsville, AL 35814
 Totals                                                                    $     35,608.27




Case 16-81412-CRJ11        Doc 569-7 Filed 08/30/17 Entered 08/30/17 10:42:36            Desc
                                  Exhibit G Page 2 of 2
